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UN|TED STATES D|STR|CT COURT

D|STR|CT OF CONNECTICUT

JASON GOODE § C|VlL NO. 3:15CVOO561 (AVC)
V.
EDWARD MALDONADO, ET AL. : FEBRUARY 3, 2016

MOT|ON FOR ENLARGEMENT OF TlME TO RESPOND
TO PLA|NT|FF'S F|RST SECOND THlRD AND FOURTH
REQUESTS FOR PRODUCT|ON OF DOCUMENTS,
ELECTRON|CALLY STORED lNFORMATlON OR TANG|BLE THlNGS
Defendants in this action respectfully request an enlargement of time of 30 days

until l\/larch 6, 2016, Wlthin Which to respond to "Plaintiff's First, Second Third and
Fourth Requests for Production of Documents, Electronically Stored information or
Tangible Things", dated January 6, 2016. ln support of this motion the undersigned
states the following:

1. This is defendants' first request for an enlargement of time to respond to
Plaintiff's Request for lnterrogatories, and/or Requests for Production, and
the time for responding has not yet run.

2. Defendants submit that said extension is needed to gather information for
the voluminous documents requested, and the request was not received
until mid-late January, 2016, in four separate mailings.

3. Counsel expects to complete these discovery responses by this date, as

these requests have been fon/varded to Wardens Maldonado and Erfe,

who are Working on it.

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4. As plaintiff is incarcerated and appears pro se, his position to this motion

has not been ascertained

WHEREFORE, it is respectfully requested that this motion be granted.

DEFENDANTS
Edward Maldonado, EtA|.

GEORGE JEPSEN
A`ITORNEY GENERAL

BY: /s/ Steven R. Strom
Steven R. Strom
Assistant Attorney General
110 Sherman Street
Hartford, CT 06105
Federal Bar #ct01211
E-l\/lail: steven.strom@ct.gov
Tel.: (860) 808-5450
Fax: (860) 808-5591

CERT|F|CAT|ON

l hereby certify that a copy of the foregoing was mailed to the following on this 3rd

day of February, 2016 to:

Jason Goode, inmate #228240
l\/lacDougall-Walker Correctional lnstitution
1153 East Street South

Suffield, CT 06080

/s/ Steven R. Strom
Steven R.7 Strom
Assistant Attorney General

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